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                           IN Tim UNITED STATES [)ISTRICT COURT
                               FOR TIlE DISTRICT OF MARYLAND
                                                SOl/them Dh';s;ol/



MANUFACTURERS & TRADERS                              *
TRUST COMPANY,

             I'laintiff,                             *
\'.                                                                    Case No.: G.IH-16-33.t6
                                                      *
DEL CONCA USA, INC. ef aI.,
                                                      *
         Defendants.
                                                      *
*        *          *      *       *        *         *       *        *        *        *        *        *
                                       MEMORANDUM OPINION

         In this interpleader action. Plaintiff Manulacturers & Traders Trust Company ("M&T')

brings suit against Delendants Del Conca USA. Inc. ("Del Conca") and Nathaniel L. Akers.

requesting that the Court authorize M&T to deposit $302.662.69 in wired funds ("the Funds")

into the Registry of the Court. dismiss M&T Irom the action. discharge M&T Irom further

liability relating to the Funds. and award M&T the attorneys' Ices and costs associated with this

case. lOCI'NO.1. Pending before the Court is Plaintiffs Motion li)r Entry of an Order of

Interpleader and Other RelieC Eel' No. 16. No hearing is necessary. See Loc. R. 105.6 (I). Md.

2016). For the li)lIowing reasons. Plaintiffs        Motion li}r Entry of Interpleader is granted. in part.

and denied. in part. Once the Funds have been deposited with the Registry of the Court. Plaintiff

M&T shall be dismisscd. discharged from liability. and awarded $9.092.60 in attorneys' Ices and

costs Irom the deposited funds. The remaining parties shall be realigned with Del Conca as

PlaintilTand Nathaniel Akers as Delendant.'


1 Defendant   Del Conca"s Motion for Default Judgment. ECF No. 17. shall be addressed   in an Order and Opinion to
be issued allcr the Funds have been deposited in the Registry of the COUl1.
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     I.         BACKGROUND

            According    to the Complaint.      Plaintiff M&T is a Ncw York statc chartered bank

maintaining      an office in Baltimore.      Maryland.     lOCI' No. I '11. Defendant Del Conca is a

corporation      organized     under the laws of Tennessee         and maintains an ortice in Loudon.

Tennessee.      !d ~ 2. Nathaniel Akers is an individual who resides and is domiciled                     in Capitol

lleights.    Maryland.    !d '13. Akers does or has done business under the registcred trade name

Greenland       Enterprises.   !d M&T currently holds $302.662.69 in wired funds. and has tiled this

intcrpleader     action to determine      which of the two Defendants           is entitled to the Funds.

            On or about February 5. 2016. Akers opened a business checking account with M&T.

lOCI' NO.1      'i 10; .Iee ECF No. 16-2'; 4. On or about September 6. 2016. Del Conca initiated a
wire transfer of $302.662.69 from an account Del Conca maintained                        with Banca Monte Dd

Paschi Di Siena ("BMPS")            to an account Akers held at M&T. ECF No. I                 n 11-13. Shortly alier
the Funds were transferred         and credited to the M&T account. Del Conca contacted M&T.

asserting that the transfer was procured by fraud. and requesting that M&T return the Funds to

the BMPS account. III 'i 14. In response. M&T did not return the Funds. but instead Iroze the

account. III 'i 15. M&T made repeated efforts to contact Akers. its customer. to determine

whcther Akers would contest Del Conca's claim to the Funds or allow M&T to return the Funds

to Del Conca. hut M&T was unsuccesstiJi                in reaching him. !d ,; 1S. M&T maintains that it is

contractually     and legally obligated to retain the Funds until the dispute is resolved. !d 'i'116. 19.

            M&T initiated this interpleader        action against Del Conca and Akers on October 5. 2016.

ECF No. I.~ Through etliHts to serve Akers personally.                  M&T discovered         that Akers \\'as



~ Prior 10 the tiling in this Court. on September 29. 2016. Del Conca filed an action against M&T in the Supreme
Court of New York. New York County. Del ('011('(/ USA. Int'. \', .\1/;',\'. & Traders '!i'us! ('0 .. No: 655166.'2016 .. )'ee
EeF No. 16-3. Akers is nol a party to thai action. 1£1. Online case information from the New York Supreme COllrt
Records Ol1~Lille Library indicates that no action has been taken in the case since March 30. 2017. but counsel from

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homeless. See ECF NO.6-I at 2-4 ..' M&T also learned that the personal address and business

address on lile i(lr Akers were actually two separate churches \\'here Akers periodically resided.

See ill. M&T"s private process server was unable to locate Akers despite several attempts. Id

M&T filed a Motion I(lr Alternative Service as to Defendant Akers. ECF NO.6. which the Court

granted on December 14. 2016. ECF NO.8. M&T subsequently served Akers by iirst class U.S.

mail. ECF No. 15 ~ 4. and according to M&T. on or about January 6. 2017. Akers callcd

Plaintiffs counsel. conlirming that he had received the summons. and inquiring about the matter.

ill. ~i
      6.

           In the instant Complaint. M&T requests that the Court restrain and enjoin the Defendants

from instituting any action against M&T I(lr recovery of the Funds. authorize M&T to deposit

the Funds into the Registry of the Court. dismiss M&T ihllll suit and discharge M&T from any

further liability with respect to the Funds. award M&T the attorneys' fees and costs associated

with this action. and require the Defendants to interplead as to the Funds. Defendant Del Conca

has answered the Complaint. ECF No. J I. Akers was served on January 3. 2017. and an aJ1S\\'Cr

was due by January 24.2017. ECF No. 17. Akers has not answered the Complaint or entered an

appearance in this matter. Del Conea has now moved I(lr Del:llIlt Judgment against Akers. ECF

No. 17. M&T opposes Default Judgment against Akers as premature. ECI' No. J 9 at 2. The time

for Akers to respond has expired. and the Clerk shall he direeted to enter del:llilt against Akers.

However. dei:llllt judgment against Akers cannot he resolved in the current posture. and Del

Conea's Motion for Dei:llllt Judgment willtherel(lre he addressed in i()[(heoming proceedings.

See IVells FlIIXII flank. N.il. \'. faslhal/l.    No. CV DKC 16-0386. 2016 WL 2625281. at * 5 (D.


Del Conca has tiled several stipulations for extensions oftimc for Defendant M&T to respond to Del Coneaos
complaint. See hnp://iapps.co1ll1s.statc .n)' .lIs/iscroll/SQLData.jsp?lndexNo=655 166-20 16&Submit2=Scarch (last
yisited July 14.2017). Del Conca allests that the case has been deferred. lOCI'No. 17-2'; 4.
, Pin cites 10 doculllents filed on the C01ll1"S electronic tiling system (CMlECF) refer to the page numbers generated
by that system.
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Md. May 9. 2(16) (noting that interpleader                    defendant" s motion I()r delault against other

detCndant could not "be resolved                  in the present posture:'       and therefore realigning         the remaining

parties as adversaries            and directing     further proceedings):        I'l'lIdenliallns.   ('0,   ojAlII, \'. Whit!!. No.

I: 16-CV -1094. 2017 WL 2834459,                    at *3 (M,D, I'a. June 29. 2(17) (denying                interpleader

plaintilrs      motion I()r default judgment              against one detCndant.       noting that ..the Court limb that

such relief is more appropriately              sought in the second stage of this proceeding                  ... ").

     II.         STANDARD OF REVIEW

             "Interpleader        is a proeedural    device that allo\\'s a disinterested        stakeholder       to bring a

single action joining             t\\'o or more adverse claimants           to a single fund:' SeclIrily Ins. Co. o(

lIarljiml r. Arcade hrliles.              Inc.. 40 F. App'x 767. 769 (4th Cir. 2(02). The device is designed

"to protect the stakeholder             Irom multiple.       inconsistent     judgments    and to relieve it of the

obligation      of determining         \\'hieh claimant      is entitled to the fund," Iii. In interpleader             claims. the

interpleader       plaintiff typically      \\'ill "admit liability. deposit the fund "ith the court. and be

permittcd       to \\'ithdra\\'     from the proceedings,"        Wells Fargo Bal1k. N.A. \'. Easlha/ll. No. CV DKC

16-0386,2016           WL 2625281.         at *3 (D, Md. May 9. 2(16) (citing CMFG Liji: Il1s. Co. \'. Schell.

No. GJII-13-3032.            2014 WL 7365802,             at *2 (D, Md. Dec. 22, 2(14)).

             28 U.s.c.     ~ 1335(a) "grants the district courts original jurisdiction                 over intcrplcader

claims involving          at least $500.00 in funds or property and at least t\\'o claimants                    of divcrse

citizenship:'       Wells Fargo /Jank. N.A. \'. EasllwlII. No, CV DKC 16-0386. 2016 WL 2625281. at

*3 (D, Md. May 9.2(16)                 (citing 28 U.s.c.      ~ 1335(a).       28 U.s.c.    ~ 2361 providcs that in an

interpleader       action undcr Section           1335:

                       tA] district court may issuc its process I()r all claimants and enter
                       its order restraining  them from instituting or prosecuting      any
                       proceeding    in any State or United States court affecting the



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                     property ... invol,'ed     in the interpleader          action until limher order
                     of the court. ...

                     Such district court shall hear and determine the case. and may
                    discharge the plaintiff from further liability. make the injunction
                     permancnt.   and make all appropriate        orders to enl()("ce its
                    judgment.

28 U.s.c.      ~ 2361.

         An interpleader         action generally    proceeds       in two stages. fast/will.        2016 WI. 2625281.        at

*2 (D. Md. May 9. 2(16) (citing 7 Charles A. Wright. Arthur R. Miller. & Mary K. Kane.

Federal Practice and Procedure           ~ 1714 (3d ed. 200 I): Rapid S!!/II!!JII!!l1/s. !.Ill. ". U.S. Fill. &

(Juar. Co .. 672 F.Supp.2d          714. 717 (D. Md. 2009)). Initially. the COlJli determines                 "whether       the

stakeholder       has properly    invoked interpleader'"        Eas/halll. 2016 WI. 2625281.            at *2 (citing

Ulli/!!dS/a/!!s     ,'. Hi~h T!!ch. ['rod.l' .. file.. 497 F.3d 637. 641 (6th Cir. 2(07)).             The propriety of

interpleader      rests upon whether the stakeholder            "legitimately     fears multiple      litigation over a

single fund'" ill.. and the Court considers           whether:       ..( 1) it has jurisdiction   over the suit: (2) a

single fund is at issue: (3) there are adverse claimants                 to the fund: (4) the stakcholder        is actually

threatened     with multiple      liability: and (5) equitable        concerns    [would] prevent the usc of

interpleader'"      Id: see also AI!!/ro. Uti' IllS. C'II. ". I'-illes. No. CIV. WDQ-I 0-2809.2011                     WI.

2133340.      at *2 (D. Md. May 25. 2011). If the Court determines                    interpleader     to be proper.

consistent     with 28 U.S.c.      ~ 2361. ,.the Court may direct the funds plus interest to be deposited

with the Clerk, dismiss the stakeholder             with prejudice       and discharge      it Irom all liability \\ith

respect to the deposited         funds. and prohibit the claimants           Irom initiating or pursuing any action

or prOceeding       against the stakeholder     regarding       the Iproperty at issue j:' Eall/wlII.        2016 WI.

2625281.      at *2.




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           During thc sccond stagc of an interpleadcr action. thc Court issues a schcduling ordcr and

..thc casc continucs betwecn thc claimants to detcrminc thcir rcspcctivc rights'" 1"(/.1'//)([111. 2016

WL 2625281. at *2. (citing Rhoode.l' \'. C(/.I'ey. 196 FJd 592. (00). Thc claimants cngagc in thc

"normal litigation processes. including pleading. discovery. motions. and triaL" lei. (citing lIigh

Tech.. 497 F.3d at 641 ).

    III.       ANALYSIS

               A. Propriety          of Interpleader

           Applying thc interpleader standard set !(mh abovc. M&T has satisticd all thc

rcquircments for invoking intcrplcadcr. Jurisdiction is proper undcr 28 U.S.c. ~ 1335 bccause

thc amount in controvcrsy cxcceds $500.00 and the Dcfcndants are of divcrse citizcnship. as Del

Conca USA. Inc. is a corporation incorporatcd under thc laws ofTcnncsscc.             see 28 lJ.S.c. ~

1332 ("a corporation shall be deemed to bc a citizcn of cvcry Statc and !(1I"cignstatc by which it

has bcen incorporatcd") and Akers is an individual domicilcd in Maryland. A singlc fund is at

issuc. namcly. thc Funds in the amount of $302.662.69 transfcrrcd by DcI Conca to M&T on

Septcmbcr 6. 2016. See ECF No. I ~'II 0-21.

           Furthcr. Dcl Conca and Akers arc "advcrsc claimants" to thc Funds. This is truc c\'cn

though Akcrs has not cxprcssly madc a claim to the till1ds. bccause Plainti!Tnccd only shO\\.thc

cxistcncc of a potential claimant to thc funds to satisfy this clemen!. See 28 lJ.S.c. ~ 1335 ("Two

or morc advcrsc claimants ... arc claiming or may claim to bc cntitled to such money or

property.");   1"(/.1'//)([111.   2016 WL 2625281 at *3 ("Section 1335 cxpressly providcs that an

interpleader action is appropriatc to resolvc potcntial claims."): Kri.l'hn(/ \'. Co/g(/Ie 1'(//lIIoliw

Co.. No. 90 CIY. 4116 (CSII). 1991 WL 125186. at *2 (S.D.N.Y . .tuly 2.1991) ("lAJdverse

claims necd not havc actually bccn asserted 1(11"
                                               an interpleadcr action to bc propcr. Thc language



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of both Rule 22 and 28 U.S.c.               ~ 1335 allow fiJr the invocation           of interpleader     lor thc possibility

of prospective       claims.").       "[Clourts    should not hesitate to allow interpleader             even when

prospective      claims are involved as long as thcy do not fall below any mcaningfulthreshold                              level

ofsubstantiality."'I"lI.I'/illI/II.      2016 WL 2625281           at *3 (citing 7 Charles A. Wright. Arthur R.

Miller. & Mary K. Kane. Federall'ractice                    and Procedure       ~ 1707 (3d cd. 2001        ». Here. because
the Funds are hcld in Akers'              aceount. he is a potential        adverse claimant.      See ECF No. 16-2 ~iII

("Without      receiving     the consent of Akers. M&T cannot return the Funds to Del Conca without

exposing      itself to potential       liability to its customer       Akers."').

           In addition     to Akers'      potential    claim. Del Conca asserts that the funds properly belong to

it. Thus. M&T may be threatened                   with liability if it is obligated     to determine      who is entitled to

the funds and decides incorrectly.. See Me/ro. Lit'e
                                                . 111.1'. Co. \'. 1'1111'.1'. No. CIV. WDQ-I 0-2809.

2011 WL 2133340.             at *3 (D. Md. May 25. 2(11) (noting that interpleading                      plaintiff"may    be

liable lill' damages       if it incorrectly       disburses"   the remaining        funds). Indeed. M&T has already

been the subject of a lawsuit commenced                    by Del Conca regarding         the Funds. S'ee ECF No. 16-3.

Finally. therc arc no equitable             concerns     preventing     the use of interpleader.       M&T attests that it is

a disinterested      and impartial        stakeholder     to the Funds that makes no claim to the funds. Ill/sllIle

Lite IllS. Co. 1'. Ellel!. No. 2:14CV372.               2015 WL 500171. at *4 (E.D. Va. Feb. 4. 2(15) (noting

that plaintiff was "a disinterested               stakeholder   that does not dispute the amount O\\'edundcr                the

rclevant insurance         policy. and is timely asserting.            in good lilith. that it is unable to determine

which claimant         is legally entitled to such funds" and finding interpleader                  to be appropriate).

           Accordingly.       the requirements          ii)r an interpleader    aetion have been met. Therefilre.           the

Court directs M&T to deposit with the Registry of the Court the $306.662.69                                in Funds. plus

interest that has accrued since September                  6. 2016. Upon receipt of the Funds. the Court shall



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dismiss M&T from the action. discharge                  M&T from further liability relating to the funds. and

enjoin Defendants           Irom instituting     or prosccuting       any procecdings    in state or ICderal court

affecting     the funds involved        in this intcrplcader      action. pursuant to 28 U.S.c.        ~ 2361. The

remaining      parties in this action shall be realigned              with Dcl Conca as I'lainti ITand Akers as

DeICndant.

                B. Attorneys'         Fees and Costs for M&T

            "lIlt is within the discretion        of the court to award the lintcrpleaderl           costs including     a

rcasonable      attorneys'     fcc out of the deposited        fund:'    Wells Fargo Balik. N.A. \'. lo'm/lllIlII. No.

CY DKC 16-0386.2016                WI. 2625281.       at *4 (D. Md. May 9.2016)           (citing COPI'age \'. Ills. Co.

ot"Norlh Alllerica.         263 F.Supp. 98. 100 (D. Md. 1967)): see also Balik ot"AIII.. N.A. \'. Jericho

Baplisl Church I'v/illislries. IlIc.. No. I'X 15-02953.2017                  WI. 319521. at * I (D. Md. Jan. 23.

2017) (noting that "Itlhe Court retains broad discretion                    to award the stakeholder       its costs.

including      reasonable      attorneys'     fces. out of the deposited      fund."). The rationale      is that "Iblecause

the stakeholdcr      is considercd          to be helping multiple parties to an cfficicnt rcsolution           of the

disputc in a singlc court:'          granting attorneys'       fees to thc stakeholdcr     is oncn justificd.

Slollehridge      14e IllS. Co. \'. Kissillger.       89 F. Supp. 3d 622. 627 (0.1\..1. 2(15)).          Attorncys'      ICcs

and costs arc. howcver.           appropriate     only when the intcrpleadcr         plaintifTacts     "as a mcre

stakcholder.      which means that thc party has admitted                 liability. has deposited    the fund in court.

and has asked to be relieved of any further liability." Jericho.                   2017 WI. 319521. at * 1 (citing 7

Charles Alan Wright et al.. Federal I'raetice and Procedure                     ~ 1719 (3d ed. 200 I)).

            Additionally.      "I wlhen an award of costs and attorneys'            fees to a stakeholder       in a

successfill     interpleader     action is equitable.     it should also be modest." Jericho.           2017 WI. 319521.

at *2. "By its very nature Ian interpleader              fceJ is ofa relatively      small amount simply to



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compensate        for initiating    the proceedings."'     Ill. (citing Faher Co. \'. OmIrick. 310 F.2d 462. 467

(5th Cir. 1962». In general. a stakeholder's                ability to recoup attorneys'        fees and costs is limited.

becausc thc interpleader           process "does not usually involve any great amount of skill. labor or

responsibility."'     Ill. (citing Le\l'is I'. Allal7lic Research ColjJ.. No. 98-0070-11.1999                 WL 701383.

at *7 (W.D. Va. Aug. 30.1999».               An award of attorneys'          fccs should be "properly         limited to the

preparation       of the petition lor interpleader.        the deposit of the contested        funds with thc court. and

the preparation       of the order discharging         the stakeholder."'    Id.

             Indeed. courts in this jurisdiction         have. in recent interpleader        cases. denied rcquests         fi)r

attorneys'      fees entirely. see EasllwlII. 2016 WL 262528\                at *5 (noting that      "r p ]laintilT could
have taken steps to assuage its concern regarding                   multiple potential claimants        to the Disputed

Funds without initiating           an interpleader     action that required        live additional   parties to spend time

and money in litigation."           and that "courts often deny costs and fees when an interpleader                      brings

an action 'prematurcly         or without suflicient        basis for believing       that it will be subjected     to

multiple      vexation. '''). or made a substantial         deduction    to the award request. see Jericho. 2017

WL 319521. at *3 (cutting attorneys'                 fees that were "spent on matters outside the interpleader

action itself').

             Here. while M&T is an impartial stakeholder.               and the requirements         of interpleader      have

been met. it does appear that resolution               short of interpleader       may have been possible.        Prior to

initiating     this action. M&T made repeated efforts to contact Akers to determine                        whether he

would contest the allegations           of fraud. claim entitlement         to the Funds. or permit the return of the

Funds to Del Conca and BMPS. Akers never responded                          to M&T. nor did he make a claim to

these Funds. Thus. it would secm that the only likely claimant                       was Del Conca. Rather than

accept an offered indemnilication             agreement      Irom Dcl Conca. or take other steps to assuage their



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concerns      ofconllicting       liabilities.   see EeF No. 21 at 10-11. M&T chose to commence                       this

interpleader     action. It would be unjust to require Del Conca. who by all accounts                        appears to be

the victim of fraud. to bear the full costs ofPlaintilrs                 attorneys'    fees in this matter. in addition         to

their own. See Coppoge \'. lns. Co. o(N. Alii .. 263 F. Supp. 98.101                      (D. Md. 1(67) (noting that to

"require    the claimants       ...    also to bear the fee of [thc interpleading        party'sl     counsel would be

lII~just. and is not required or warranted             by the law of Maryland         or federal law" and "services

rendered      to Ithe interpleader]        by their eounsel should be borne by Ithe interpleader]               themselves

and not by the injured persons"):                Woshing/OI; .1111/1101 Bonk. FA. I'. ,\focRoe. No. Clv.A.              0.+-

0550A. 200.+ WL 2809315.                 at *2 (Mass. Super. Nov. 17.200'+) (denying                plaintifTbank's     request

for attorneys'     Ices. noting that ..the plaintiff bank liled an interpleader              action purely on the basis

of cOI1\'eniencel.]     and not necessitYl.]          to be relieved of the burden of holding surplus funds" and

..[t]he plaintilTbank         could have elected other options that would not have exposed                     it to risk nor

would have neeessitated               that it incur legal fees and costs.").

           With this in mind. the Court turns to M&T's                 request of$18.000.00.          See ECI' No. 16 at.+.

The starting point for determining                the proper amount of a Ice award is the "lodestar,"             or ..the

number of hours reasonably                expended.    multiplied    by a reasonable    hourly rate," llensle)'. 461

U.S . .+24. 433 (1983): see 01.1'0 RIIIIlCreek Cool Soles. lnc. \'. Coper/on. 31 F.3d 169. 174 (4th

Cir. 1(94). The party seeking an award of attorney's                    fees "bears the burden of establishing

entitlement      to an award and documenting             the appropriate     hours expended         and hourly rates,"

Hemle)'.461        U.S. at 437. The court shall adjust the number of hours to del etc duplicati\'e                       or

unrelated     hours. and the number of hours must be reasonable                   and represent       the product of

"billing judgment."       RIIIIlCreek Cool Soles. 31 F.3d at 175 (citing Hensle)' . .+61 U.S. at 437). And

in the casc of inter pIca del' actions. "It]he ultimate decision               to grant reimbursement          for those fees



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and costs remains in the Court's discretion:' Life 1m. CII. orlhl'S1l'. \'. CIIII'JIlall. NO.3: 14-CV-

799-JAG. 2015 WL 1469155. at *2 (E.D. Va. Mar. 30.2(15)                       (citing Trustl'l'S 1I(l'luJllhl'l's &

l'ipl'fil/l'I'S Nal. I'l'lIsillll   Fund \'. S'll'lIgUI'. 251 F. App'x 155. 156 (4th Cir. 2(07)).

          The hourly rates requested by M&T fall within the range of presumptively reasonable

rates identilied in Appendix B of the Loeal Rules (D. Md. July I. 2(16).4 however. the Court

will. in its discretion. make some adjustments to the hours billed. Using the guiding principlc that

fees shall only be awarded for tasks related to the intcrpleader action itsell: the Court tinds that

no fecs shall be awarded lilr September 2016. as it appears that time was spent dclending a

scparate matter: but tinds that M&T is entitled to $27X0.80 lilr October 2016: $726.20 fill'

November 2016: $2765.40 lilr December 2016: $250.60 lilr January 2017: and $2569.60 far

February 2017 -            lill' a total amount of $9.092.60. To the extent M&T seeks fees lilr litigating

the New York state case. actions taken in M&T's own sell~interest are not properly recoverable

as attorneys' fces. Sl'l'. l'.g .. Fid IJrokl'l'lIgl' .';l'I'\'S. I.LC \'. Caro. No. 10 CIV. 5893 BSJ RLE.

2011 WL 4801523. at *2 (S.D.N.Y. Oct. II. 2(11) (noting Ihat "[blecause the proceedings

betiJre the Supreme Court of the State of New York were not related to the bringing of the

interpleader action. Iplaintiff! is not entitled to at1orncys' fees tiJr thcse costs."): f!l'aring \'.

Mil1l1l'sIIIa Lik Ills. CII.. 33 F. Supp. 3d 1035. 1043 (N.D. Iowa 2014). a{l'd. 793 F.3d 888 (8th

Cir. 2(15) (denying rcquesililr attorneys' fees where company brought interpleader action in its

own scll~interest).

           Accepting this calculation proposed by Del Conca. and considering that this case was not

particularly complicated and may have been avoidablc. the Court believes $9.092.60 to be a fair



~ Lawyers admitted to the bar for less than five (5) years: S 150-115. Lawyers admitted to the bar fix the (5) 10 eight
(8) years: S 165-300. l.awyers admitted to the bar for nine (9) to fOlll1een ( 14) years: S215-350. La\\ yers adrn itted 10
the bar for tificcn (15) to nineteen (19) years: 5275-425.   Lawyers admitted to the bar for twelll)' (20) :'cars or more:
5300-475. Paralegals and law clerks: 595-150. 1.0C. R. app. Il (D. Md. July I. 2016).

                                                             II
       Case 8:16-cv-03346-GJH                Document 22          Filed 07/25/17     Page 12 of 12



and appropriate sum. It is also consistent with awards givcn in similar circumstances. See. e.g ..

Cilihallk.   N.A. \'. Jericho   BaJJlisl Church Millislries.   IlIc .. No. PX 16-01697. 2017 WL 2132033.

at *7 (D. Md. May 17.2017) (rcdueing Citibank's request li'om $27.574.80 and granting

$13.044.16 in attorneys' fees and costs): Melro. UFe Ills. CO. I'. Sallche::. NO.2: 16-CV -00787-

fvICE-AC. 2017 WL 2081794. at *2 (E.O. Cal. May 15.2017) (Iinding Stllll of$5.801 34

reasonable for "initiating this interpleader action. effecting service of process. preparing the

instant motion to dismiss/discharge. and otherwise participating in this litigation."):

7i'a/7Samerica Li/i! 1/7S.Co. \'. Sallome.     No. 3:14CV624. 2015 WI. 222184. at *3 (ED. Va . .Jan.

14.2015) (awarding $11.617.00): DusseidO/l) \'. flo. 4 r. Supp. 3d 1069. 1071 (S.D. Iowa 2014)

(reducing request li'OIn$15.507.82 and awarding $3.506.00): Fie/. Nal. Tille Co. \'. u.s. Small

Bus. Admill .. No. 2:13-CV-02030-K.JM-AC.            2014 WL 6390275. at *5 (E.D. Cal. Nov. 13.2014)

(awarding $11.500): Wells Fargo Balik. Nal. Ass'll \'. I'ACCAR            Fill. CO/I)" No. 108CV-

00904A WI-SMS. 2009 WL 211386. at *4 (E.D. Cal. .Jan. 28. 2009) (awarding $5575.55).

Accordingly. an amount of$9.092.60            shall be disbursed from the Registry of the Court to M&T

for attorneys' Ices. once the Funds have been deposited.

     IV.      CONCLUSION

           For the foregoing reasons. Plaintiffs Motion for Entry of Interpleader is granted. in part.

and denied. in pm1. A separate Order shall issue.


Date: .Julv    '2-<7, 2017
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                                                                      A-;f-
                                                                      GEORGE .J. hAZEL
                                                                      United States District .Judge




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